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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

   KAREN SUE SPERLING, an Individual,    )
                                         )
               Plaintiff,                )
                                         )
   v.                                    )   Case No.: 16-cv-101-JED-TLW
                                         )
   CSAA FIRE & CASUALTY INSURANCE        )
   COMPANY, a Foreign Insurance          )
   Corporation,                          )
                                         )
               Defendant.                )


                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT




                                             Respectfully Submitted,


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   DATED: APRIL 11, 2017
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                     DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

           Pursuant to FED. R. CIV. P. 56 and Local Rule 56.1, Defendant, CSAA Fire & Casualty

   Insurance Company (“CSAA”), respectfully requests the Court enter summary judgment in its favor.

                                               INTRODUCTION

           This lawsuit arises out of a property damage claim submitted to CSAA. Plaintiff asserts that

   in handling her claim, CSAA breached its contract with her and did so in bad faith. However, the

   undisputed material facts, set forth below, demonstrate that Plaintiff cannot maintain a valid claim

   for breach of contract because she has been fully compensated for her claimed loss. In fact, Plaintiff

   has received benefits well beyond those contracted for. The undisputed material facts set forth below

   further demonstrate that Plaintiff cannot maintain valid claims for bad faith or punitive damages.

   Rather, it is clear that these latter claims were asserted in hopes of artificially inflating the value of

   this frivolous lawsuit.

                                          FACTUAL BACKGROUND

           Plaintiff contends that the insured property, a rental property, sustained damage as a result

   of vandalism on November 10, 2014. Upon notice of Plaintiff’s loss, CSAA promptly opened a

   claim and began its investigation. CSAA’s investigation indicated that the property had been vacant

   for more than 60 days, and therefore, coverage was not afforded under the policy. Specifically, the

   policy does not insure losses caused by:

                   (6)       Vandalism and malicious mischief, theft or attempted theft,
                             and any intentional and wrongful act committed in the course
                             of the vandalism or malicious mischief, theft, or attempted
                             theft, if the dwelling has been vacant for more than 60
                             consecutive days immediately before the loss. A dwelling
                             being constructed is not considered vacant.

           The policy also includes the following exclusion:




                                                       1
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                   (A)     We do not insure for loss caused by any of the following.
                           Such loss is excluded regardless of any other cause or event
                           contributing concurrently or in sequence to the loss. These
                           exclusions apply whether or not the loss event results in wide-
                           spread damage or affects a substantial area.

                                           *               *               *

                   Neglect.

                           Neglect means your neglect to use all reasonable means to
                           save and preserve property at and after the time of loss.

           After receiving CSAA’s coverage decision, Plaintiff submitted additional information that

   she believed demonstrated her rental property was not vacant. Plaintiff presented the utility bills (gas

   and electric) that she was paying at the time of the alleged vandalism. Although Plaintiff admitted

   she was not renting her house at the time of the alleged vandalism, she argued that her rental property

   was under “construction.” More specifically, Plaintiff claimed she was repairing damage caused by

   an unrelated water loss. Upon receipt of this supplemental information, CSAA reopened its file for

   further investigation. To date, CSAA has tendered $62,821.36 in benefits to Plaintiff. However, the

   information obtained during the course of this lawsuit has made it apparent that Plaintiff was not

   actually entitled to many of the payments made to her.

                              STATEMENT OF UNDISPUTED MATERIAL FACTS

           1.      Plaintiff claims that on November 10, 2014, her rental property, located at 7101 S.

   228th St. E. Ave, Broken Arrow, Oklahoma 74014, sustained damage as a result of vandalism. (See

   Petition [Dkt. No. 2-2], ¶¶ 1-4.)

           2.      At the time of the alleged vandalism, Plaintiff’s rental property was insured under a

   AAA Oklahoma DP3 Rental Property Insurance Policy (the “Policy”). (See Certified CSAA Policy,

   DP3-002795271, EXHIBIT 1.) The Policy provided the following coverages:




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         A               B                 C                   D             E                F
      Dwelling         Other            Personal           Fair Rental    Personal          Medical
                     Structures         Property             Value        Liability       Payments to
                                                                           Each             Others
                                                                         Occurrence
     $240,369*        $24037         $12,018           $48,074        $300,000  $1,000
         *Your Section I coverage limits may have been changed to reflect changes in
         construction costs & other matter affecting replacement costs.

   (Certified CSAA Policy, DP3-002795271, Declarations Page, EXHIBIT 1.) The Policy also included

   the Specified Additional Insurance Coverage A (125% Extended Replacement Cost) Endorsement.

   (See Certified CSAA Policy, DP3-002795271, EXHIBIT 1.)

          3.     The Policy provides in pertinent part:

                 SECTION I – PERILS INSURED AGAINST

                 A. Coverage A - Dwelling And Coverage B - Other Structures

                        1. We insure against risk of direct physical loss to property
                        described in Coverages A and B.

                        2. We do not insure, however, for loss:

                                  a. Excluded under Section I Exclusions;

                                  b. Involving collapse, except as provided in Other
                                  Coverage 7. Collapse; or

                                  c. Caused by:


                                  *                *               *

                                         (6) Vandalism and malicious mischief, theft or
                                         attempted theft, and any ensuing loss caused
                                         by any intentional and wrongful act committed
                                         in the course of the vandalism or malicious
                                         mischief, theft or attempted theft, if the
                                         dwelling has been vacant for more than 60
                                         consecutive days immediately before the loss.


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                                         A dwelling being constructed is           not
                                         considered vacant;

                                 *              *              *

                  SECTION I – EXCLUSIONS

                  A. We do not insure for loss caused directly or indirectly by any of
                  the following. Such loss is excluded regardless of any other cause or
                  event contributing concurrently or in any sequence to the loss. These
                  exclusions apply whether or not the loss event results in widespread
                  damage or affects a substantial area.

                                 *              *              *

                         5. Neglect

                         Neglect means your neglect to use all reasonable means to
                         save and preserve property at and after the time of a loss.

   (Certified CSAA Policy, DP3-002795271, pp. 18, 19, 25, 26, EXHIBIT 1.)

          4.      On or about December 22, 2014, Plaintiff notified CSAA of the claimed loss. (See

   Claim Note, December 22, 2014 at 10:20 A.M., EXHIBIT 2.)

          5.      Upon receiving notice of Plaintiff’s claim, CSAA promptly opened a file and assigned

   Jimmy McCoy (“McCoy”) as the field adjuster. (See Claim Note, December 22, 2014, at 10:44

   A.M., EXHIBIT 2.)

          6.      On or about December 29, 2014, McCoy contacted Plaintiff to discuss her claim and

   to schedule a site inspection. (See Claim Note, December 29, 2014, at 3:50 P.M., EXHIBIT 2.) The

   site inspection was initially scheduled to take place on January 5, 2015. (See Claim Note, December

   29, 2014, at 3:50 P.M., EXHIBIT 2.) However, at Plaintiff’s request, the site inspection was

   rescheduled on multiple occasions. (See Claim Notes, dated January 5, 2015, at 1:24 P.M. - January

   12, 2015, at 2:14 P.M., EXHIBIT 2.)




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          7.      On January15, 2015, McCoy was allowed to inspect the property. (See Claim Notes,

   January 23, 2014, EXHIBIT 2.)

          8.      Based upon McCoy’s inspection and information obtained during the investigation

   of one of Plaintiff’s prior claims (filed in September 2014), CSAA concluded that Plaintiff’s

   property had been vacant for more than 60 days. Thus, the vacancy provision was applicable unless

   Plaintiff could show otherwise. (See Claim Note, January 27, 2015, at 1:03 P.M., EXHIBIT 2.)

          9.      Plaintiff was notified of CSAA’s coverage decision both verbally and in writing. (See

   Claim Note, January 27, 2015, at 5:20 P.M., EXHIBIT 2; Correspondence to Plaintiff from CSAA,

   dated January 29, 2015, EXHIBIT 3.)

          10.     Plaintiff was notified that if she believed any of the information CSAA relied upon

   was inaccurate or if she had additional information that CSAA should consider, she should provide

   the information to CSAA. And, upon receipt of any additional information, CSAA would reopen

   its file for further investigation. (See Correspondence to Plaintiff from CSAA, dated January 29,

   2015, EXHIBIT 3.)

          11.     Plaintiff then informed CSAA that she believed the premises was “reasonably

   occupied for repairs”, (See Petition [Dkt. No. 2-2], ¶ 6), and provided documentation (paid utility

   bills) that she believed supported her position. (See Correspondence from Bufogle to Wier, dated

   June 12, 2015, EXHIBIT 4.)

          12.     At Plaintiff’s request, CSAA reopened its file to review the newly submitted

   information. (See Claim Note, dated June 9, 2015, at 12:58 P.M., EXHIBIT 2.)

          13.     On June 26, 2015, McCoy reinspected the property. Plaintiff’s contractor, Ismael

   Deligorio, was present at the inspection. After reviewing the claimed damage, McCoy determined




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   that Deligorio’s estimate was excessive and included items that were not related to the purported

   vandalism. (See Claim Note, dated July 6, 2015, at 8:17 a.m., EXHIBIT 2.)

          14.     McCoy concluded the covered damage would cost $47,622.36 to repair. (See

   Estimate, dated October 27, 2015, EXHIBIT 5.)

          15.     Applying depreciation and Plaintiff’s $500.00 deductible, (Certified CSAA Policy,

   DP3-002795271, Declarations Page, EXHIBIT 2), CSAA tendered an actual cash value (“ACV”)

   payment of $38,425.15 to Plaintiff. (See Correspondence to Bufogle, dated October 29, 2015, and

   attached Drafts, EXHIBIT 6.) Plaintiff was informed that if her repair costs exceeded the ACV

   payment, upon receipt of supporting documentation, she was entitled to recover the depreciation hold

   back, up to $8,697.21. (See Correspondence to Bufogle, dated October 29, 2015, EXHIBIT 6.)

          16.     Prior to filing this lawsuit, Plaintiff had not presented any information demonstrating

   she had completed the repairs to the property. (See Plaintiff’s Depo. Tr. 321:1-10, EXHIBIT 7.)

          17.     To date, Plaintiff has not submitted any documentation demonstrating her repair costs

   have exceeded the repair cost estimate prepared by McCoy. Rather, Plaintiff continues to rely solely

   upon Deligorio’s estimates. (See Plaintiff’s Amended Answer to CSAA’s Interrogatory No. 7,

   EXHIBIT 8.)

          18.     Plaintiff used a portion of the insurance benefits tendered to her to cover her day-to-

   day living expenses. (See Plaintiff’s Depo. Tr. 74:1-7, EXHIBIT 7.)

          19.     Shortly before her second deposition in this lawsuit, Plaintiff finally completed the

   repairs to the property. (See Plaintiff’s Depo. Tr. 321:11-24, EXHIBIT 7.) And, after CSAA, through

   its attorney, was afforded an opportunity to inspect the property (See Plaintiff’s Depo. Tr. 321:11-24,

   EXHIBIT 7), CSAA tendered Plaintiff the depreciation hold back of $8,697.21. (See CSAA Draft

   No. 0715559915, EXHIBIT 9.)


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            20.        In addition to the $47,622.36 (less depreciation) tendered to Plaintiff under Coverage

   A, CSAA has paid Plaintiff $2,499.00 to replace a riding lawn mower that she claimed was damaged

   by the vandals. (See Correspondence to Bufogle from Weir (w/attachments), EXHIBIT 10.)

            21.        Plaintiff has testified that she did not actually own the lawn mower and that it was

   damaged prior to the alleged vandalism. (See Plaintiff’s Depo. Tr. 188:13-189:18, EXHIBIT 7.)

            22.        CSAA has paid Plaintiff $13,200.00 (12 months X $1,100.00/month) under the

   Coverage D - Fair Rental Value. (See CSAA Draft No. 0714833894, EXHIBIT 11; Correspondence

   to Bufogle, dated October 29, 2015, and attached Drafts, EXHIBIT 6.)

            23.        Finally, Plaintiff claims that CSAA owes her $20,088.40 for “Mold Repairs.” (See

   Plaintiff’s Amended Response to CSAA’s Interrogatory No. 7, EXHIBIT 8; Deligorio’s Report,

   EXHIBIT 12.) However, Plaintiff has testified that she does not attribute the alleged mold damage

   to the purported vandalism. Rather, the mold was caused by a leak in the roof that her prior tenants

   failed to tell her about.1 (See Plaintiff’s Depo. Tr. 150:21-151:2, EXHIBIT 7.)

                                             APPLICABLE STANDARD

            Summary judgment is required “if the pleadings, depositions, answers to interrogatories, and

   admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any

   material fact and that the moving party is entitled to a judgment as a matter of law.” Koch v. Koch

   Indus. Inc., 203 F.3d 1202, 1212 (10th Cir. 2000). The party moving for summary judgment bears

   the initial burden of proving the absence of genuine issues of material fact and its entitlement to

   judgment as a matter of law. Celotex Corp. v. Catrett, 441 U.S. 317, 323 (1986).




            1
                Therefore, the claimed mold damage is a separate loss that would be the subject of a separate
   claim.

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           Once the movant has met its burden, the adverse parties “must set forward specific facts

   showing that there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

   250 (1986) (emphasis added). The court resolves all reasonable inferences in favor of the non-

   moving party. Mattioda v. White, 323 F.3d 1288, 1291 (10th Cir. 2003). If the non-moving party is

   the plaintiff, as in this case, she must present sufficient evidence to support a jury verdict. Id. at

   1291. In other words, the plaintiff “must do more than simply show that there is some metaphysical

   doubt as to the material facts[.]” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

   586 (1986). The plaintiff “must set forth specific facts showing that there is a genuine issue of fact

   for trial.” First Nat'l Bank of Az. v. Cities Serv. Co., 391 U.S. 253, 288 (1968).

                                     ARGUMENTS AND AUTHORITIES

           PROPOSITION I:          PLAINTIFF HAS BEEN FULLY COMPENSATED FOR
                                   HER CLAIMED LOSS, AND THEREFORE, HER
                                   BREACH OF CONTRACT CLAIM FAILS AS A
                                   MATTER OF LAW.

           In order to maintain a claim for breach of contract, the plaintiff has the burden to establish:

   “(1) formation of a contract; (2) breach of the contract; and (3) damages as a direct result of the

   breach.” Digital Design Grp. Inc. v. Info. Builders, Inc., 24 P.3d 834, 844 (Okla. 2001); see also,

   OKLAHOMA UNIFORM JURY INSTRUCTION 23.1 (requiring formation of a contract, breach of contract,

   and damages in order to recover on a claim for breach of contract). Thus, it is essential that a

   plaintiff demonstrate he/she has sustained damages as a result of the alleged breach. Assuming the

   plaintiff alleges facts sufficient to establish damages as a direct result of the breach, the plaintiff’s

   recovery on the contract is limited to the amount that party would have received in case of full

   performance. Title 23 O.S. § 96, provides in full:

                   Notwithstanding the provisions of this chapter, no person can
                   recover a greater amount in damages for the breach of an
                   obligation, than he could have gained by the full performance

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                  thereof on both sides, except in cases where recovery may be for
                  exemplary damages and penal damages, and in Sections 2871 and
                  2878.

   23 O.S. § 96 (emphasis added).

          Under Oklahoma law, insurance policies are contracts and must be construed according to

   their terms. 36 O.S. § 3621; Bituminous Cas. Corp. v. Cowen Const., Inc., 55 P.3d 1030, 1033

   (Okla. 2002); Lester v. Sparks, 583 P.2d 1097, 1099 (Okla. 1978). “An insurer’s liability to its

   insured is defined by the insurance contract.” Roads West, Inc. v. Austin, 91 P.3d 81, 87 (Okla. Civ.

   App. 2003).

   A.     Plaintiff is not entitled to further benefits under Coverage A – Dwelling.

          To date, as a result of the claimed vandalism, CSAA has made payments to Plaintiff totaling

   $62,821.36. Under Coverage A – Dwelling, Plaintiff has received payments totaling $47,622.36 (less

   Plaintiff’s $500.00 deductible). Plaintiff has received: (a) an ACV payment in the amount

   $38,425.15 (UDF 15); and, (b) a payment for recoverable depreciation payment in the amount of

   $8,697.21 (UDF 19). These payments were made based upon the repair estimate prepared after

   inspecting the property and reviewing the information submitted by Plaintiff. (UDFs 13 & 14.) To

   date, Plaintiff has not presented a shred of admissible evidence demonstrating that she is entitled to

   additional benefits under Coverage A – Dwelling. Rather, Plaintiff relies entirely on her contractor

   Ismael Deligorio’s replacement cost estimates.2 (UDF 17; see also Correspondence from Bufogal,

   dated October 6, 2015, EXHIBIT 13.)


          2
            CSAA contends that Deligorio is not qualified to provide the necessary causation testimony
   linking the claimed damage to alleged vandalism. CSAA further contends that Deligorio’s opinions
   do not meet the standard of reliability required by Daubert. (See generally, CSAA’s Daubert Motion
   [Dkt. No. 31].) Therefore, CSAA submits that these estimates cannot be used as evidence refuting
   its motion for summary judgment. See Rule 56, FED. R. CIV. P. (stating “[a] party may object that
   the material cited to support or dispute a fact cannot be presented in a form that would be admissible
   in evidence”)

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          It is well recognized that an important term in any replacement cost insurance policy is that

   an insurer’s payment of ACV is triggered at the time of loss and RCV is triggered only after the

   property is repaired or replaced. Colo. Cas. Ins. Co. v. Sammons, 157 P.3d 460, 463 n.3 (Wy.

   2007). The primary reason for this two-step process “is that the amount of the insurer’s liability

   cannot be determined until repair or replacement has occurred.” Id. “It is the act of replacing the

   property that causes the insured to suffer an additional loss for which [it] purchased additional

   coverage.” Fitzhugh 25 Partners, L.P. v. Kiln Syn. KLN 501, 261 S.W.3d 861, 864 (Tex. App. 2008).

          In a relatively recent order, the United States District Court for the Western District of Texas

   explained the purpose of the two step recovery processes, as follows:

                  This language is clear and unambiguous, and courts have routinely
                  enforced replacement cost coverage provisions. See Ghoman v. New
                  Hampshire Ins. Co., 159 F.Supp.2d 928, 932 (N.D.Tex.2001); Kolls
                  v. Aetna Cas. & Sur. Co., 378 F.Supp. 392, 403 (S.D.Iowa 1974),
                  aff'd,503 F.2d 569 (8th Cir.1974); D & S Realty, Inc. v. Markel Ins.
                  Co., 284 Neb. 1, 816 N.W.2d 1, 14–15 (Neb.2012). In Ghoman, the
                  court, in describing contract language identical to the language above,
                  noted “[i]t allows the insured to either make a claim for replacement
                  costs, up to policy limits, or actual cash value supplemented by
                  additional replacement cost coverage.” 159 F.Supp.2d at 932. “The
                  purpose of this two-step process is to enable the insured to obtain
                  funds ‘to begin the process of repair or replacement, at which point
                  [the insured] could submit claims for expenditures that went above
                  the actual cash value of the loss.’” Id. at 933 (quoting Fraley v.
                  Allstate Ins. Co., 81 Cal.App.4th 1282, 97 Cal.Rptr.2d 386, 390
                  (Cal.Ct.App.2000)). In other words, “if the insured has
                  contracted for replacement cost coverage, the insured will
                  normally be entitled under the policy to an immediate payment
                  representing the actual cash value of the loss, which can be used
                  as seed money to start the repairs.” D & S Realty, 816 N.W.2d at
                  15–16.

   Cent. Mut. Ins. Co. v. White Stone Prop., Ltd., A-12-CA-275-SS, 2014 WL 1092121, at *6 (W.D.

   Tex, Austin Div. March 19, 2014) (emphasis added).




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           Another reason for the two-step process for paying RCV is the long-standing public policy

   of protecting both the insured and the insurer alike from what the law terms the “moral hazard”—

   the ability of an insured to profit from insurance coverage rather than be compensated for actual loss.

   In Higgins v. Ins. Co. of N. Am, 469 P.2d 766 (Or. 1970), the Oregon Supreme Court aptly explained

   the two-step RCV process as well as the underlying public policy stating:

                   [R]eplacement cost insurance, pays for full replacement cost [] of the
                   insured property, without deduction for depreciation….The basic
                   limitation is that the insured collects on this ‘new for old’ basis only
                   if the property is repaired or replaced . . . liability under the policy
                   accrues on an actual cash value basis until repair or replacement
                   has actually been effected. This means that if the property is not
                   repaired or replaced, the only liability of the company will be on an
                   actual cash value basis . . . The purpose of repair or replacement
                   as a condition precedent to recovery under replacement cost
                   insurance is protection against the moral hazard.

   Id. at 772-73 (internal citations omitted, emphasis added). In Truesdell v. State Farm Fire and

   Casualty Company, 960 F.Supp. 1511, 1517 (N.D. Okla. 1997), the court concluded that the

   insurer’s payment of replacement cost without the insured actually replacing or repairing the

   damaged property “would disregard the risk limiting nature of insurance contracts.” See also,

   Nicolaou v. Vermont Mut. Ins. Co., 931 A.2d 1265, 1271 (N.H. 2007)(“Allowing a policyholder to

   recover replacement costs without actually repairing or rebuilding would leave him in a better

   position as a result of the fire than the position he was in before the fire, which is the “moral hazard”

   that the repair or replacement requirement is intended to avoid.”); Fitzhugh, 261 S.W.3d at 864 (“To

   allow an insured to recover replacement costs in the absence of actual replacement would permit the

   insured to recover for a loss he has not suffered.”); Gilbert v. N. Carolina Farm Bureau Mut. Ins.

   Cos., 574 S.E.2d 115, 118 (N.C. App. 2002) (“The reason insurers place this [replacement cost]

   provision in insurance policies is to prevent an insured from making a profit from a loss.”); Farmers

   Auto. Ins. Ass’n v. Union Pac. Ry. Co., 756 N.W.2d 461, 474-75 (Wis. App. 2008) (finding that

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   payment of replacement costs without ensuring that the insured used the money to repair or replace

   the lost property would encourage insureds to “take the money and run” and would be commercially

   unreasonable).

           The above-quoted courts have also concluded that the recovery under a replacement cost

   coverage policy is limited to the amount actually and necessarily incurred in the repair/replacement

   of the claimed damage. In Knolls v. Aetna Cas. & Sur. Co, 378 F.Supp.392 (S.D. Iowa 1974), the

   United States District Court for the Southern District of Iowa explained that:

                    The amount recoverable under part (c) is the amount actually and
                    necessarily expended in repairing or replacing said property on the
                    same premises and intended for the same occupancy and use. Under
                    this clause of the policy the plaintiffs would be entitled to a lesser
                    amount than what they were actually paid, the sum of $631,955.00.
                    It appears that the plaintiffs only spent $510,759.88 on repairing and
                    replacing the property and it appears that a portion of this may not be
                    allowable under part (c). Therefore, the maximum that the plaintiffs
                    could recover if they were to insist on a recovery under the provisions
                    of the Replacement Cost Endorsement would be a total of
                    $510,759.88. Of course, the plaintiffs would not wish to recover
                    under this provision of the policy when under the basic policy they
                    recovered a sum of $631,955.00 which is a greater amount.
                    Therefore, the Replacement Cost Endorsement is not of value to the
                    plaintiffs until they have expended an amount greater than what they
                    could recover under the basic policy coverage which was the
                    $631,955.00.

                                   *               *               *

                    It is clear in this case that the plaintiffs have not spent an amount in
                    excess of the [ACV payment]. Therefore, they are not entitled to any
                    recovery under the Replacement Cost Endorsement of this policy.

   Id. at 400.

           The United States District Court for the Western District of Texas recently came to a similar

   conclusion in Cent. Mut. Ins. Co., supra, stating:

                    Since the actual cash value payment of $1,238,863.85 [Insurer]
                    already paid [Insured] is greater than this replacement cost coverage

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                  [i.e. the amount actually incurred in repairing the insured property],
                  [Insurer] does not owe [Insurer] any further amount.

   Id. at *9.

           Likewise, in Higgins, supra, the Supreme Court of Oregon stated:

                  The reasons for limiting recovery to the amount actually expended for
                  repair or replacement seem reasonable, and such a limitation should
                  be enforced if it is clearly stated in the insurance contract. We think
                  that the language employed in the policy under consideration is
                  sufficiently clear, and that the intent to limit the company’s liability
                  to amount actually expended is apparent from a careful reading of the
                  replacement cost provisions. We conclude that since plaintiffs have
                  not expended anything in repairing or replacing the insured building
                  they are not eligible to recover under the ‘Replacement Cost’
                  extension of the policy.

   469 P.2d at 167.

           Not surprisingly, the loss settlement provision of the Policy provides in pertinent part:

                  2. Buildings under Coverage A or B at replacement cost without
                  deduction for depreciation, subject to the following:

                  a. If, at the time of loss, the amount of insurance in this policy on the
                  damaged building is 80% or more of the full replacement cost of the
                  building immediately before the loss, we will pay the cost to repair or
                  replace, after application of any deductible and without deduction for
                  depreciation, but not more than the least of the following amounts:

                          (1) The limit of liability under this policy that applies to the
                          building;

                          (2) The replacement cost of that part of the building damaged
                          with material of like kind and quality and for like use; or

                          (3) The necessary amount actually spent to repair or replace
                          the damaged building.

                  If the building is rebuilt at a new premises, the cost described in (2)
                  above is limited to the cost which would have been incurred if the
                  building had been built at the original premises.

                                  *               *               *


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                   d. We will pay no more than the actual cash value of the damage
                   until actual repair or replacement is complete. Once actual repair or
                   replacement is complete, we will settle the loss as noted in 2.a. and
                   b. above.

   (Certified CSAA Policy, DP3-002795271, pp. 31-32, EXHIBIT 1.)

           Under this clear and unambiguous Policy provision, the repair estimates prepared by

   Plaintiff’s contractors do not establish the value of Plaintiff’s claim. Plaintiff is entitled to recover

   only the amount reasonably and necessarily incurred in the repair and replacement of the damaged

   property. Plaintiff has not submitted any documentation demonstrating she has spent in excess of

   the $47,622.36 to repair the claimed damage. And, Plaintiff admits that she did not provide any

   documentation to CSAA demonstrating that the repairs have been completed, because she finally

   completed the repairs during the pendency of this lawsuit. (UDF 19.) Plaintiff also admits that she

   used a portion of the insurance benefits provided to her to cover her day-to-day living expenses.

   (UDF 18.) Therefore, Plaintiff’s breach of contract claim fails as a matter of law. Indeed, if the

   Court were to determine otherwise, the Court would in effect be re-writing the policy’s terms. Under

   Oklahoma law, this is not something the Court has the liberty to do. See Spears v. Shelter Mut. Ins.

   Co. 73 P.3d 865, 868 (Okla. 2003).

   B.      Plaintiff is not entitled to further benefits under Coverage C - Personal Property.

           In addition to the above payments, CSAA also made a payment to Plaintiff in the amount of

   $2499.00 under Coverage C - Personal Property to replace a riding lawn mower that was purportedly

   damaged by the vandalism. (UDF 20.) However, Plaintiff has now admitted that she did not own

   the lawn mower and that it was damaged prior to the alleged vandalism. (UDF 21.) Said differently,




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   Plaintiff has tacitly admitted that she was not entitled to the benefits tendered to her for the

   replacement of the riding lawn mower.3

   C.      Plaintiff is not entitled to further benefits under Coverage D - Fair Rental Value.

           Throughout this lawsuit, Plaintiff has also claimed that she is entitled to additional benefits

   for the loss of rent, under Coverage D – Fair Rental Value. To date, CSAA has tendered $13,200.00

   (12 months at $1,100/month) in Fair Rental Value benefits to Plaintiff. (UDF 22). However,

   according to Plaintiff, she is entitled to recover in excess of $20,350.00 in Fair Rental Value benefits.

   (See Plaintiff’s Amended Answer to CSAA’s Interrogatory No. 7, EXHIBIT 8.) In support of this

   calculation, Plaintiff claims that she is entitled to the Fair Rental Value from the date of the alleged

   vandalism forward.

           The policy provides in pertinent part:

                   D. Coverage D - Fair Rental Value

                   1. If a loss to property described in Coverage A, B or C by a Peril
                   Insured Against under this policy makes that part of the “Described
                   Location” rented to others or held for rental by you unfit for its
                   normal use, we cover the fair rental value of that part of the
                   “Described Location” rented to others or held for rental by you less
                   any expenses that do not continue while that part of the “Described
                   Location” rented or held for rental is not fit to live in. Payment will
                   be for the shortest time required to repair or replace that part of the
                   “Described Location” rented or held for rental.

                   2. If a civil authority prohibits you from use of the “Described
                   Location” as a result of direct damage to a neighboring location by a
                   Peril Insured Against in this policy, we cover the Fair Rental Value
                   loss for no more than two weeks.

                   3. The periods of time referenced above are not limited by the
                   expiration of this policy.


           3
           Upon receipt of this information, CSAA could have moved for leave to assert the affirmative
   defense of fraud and sought return of the benefits paid to Plaintiff. As of now, CSAA has not made
   such request of the Court.

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                  4. We do not cover loss or expense due to cancellation of a lease or
                  agreement.

   (Certified CSAA Policy, DP3-002795271, p. 11, EXHIBIT 1.)

          With this above provision in mind, Plaintiff evicted her last tenant on or about August 11,

   2014, or approximately three (3) months before the purported vandalism. (See Pertinent portion of

   the “Documentation” submitted in support of Plaintiff’s claimed Loss Rent, EXHIBIT 14.) Further,

   at the time of the loss, the insured property was unfit for its normal use because, according to

   Plaintiff, the property was “in the process of reconstruction at the time due to [a] previous [un-

   related] loss.” (Plaintiff’s Petition [Dkt. No. 2-23, ¶ 6.) Therefore, because the property was, as

   Plaintiff admits, unfit for its normal use at the time of loss, Plaintiff has not and cannot meet her

   burden to show the loss at issue in this lawsuit actually triggered Coverage D – Fair Rental Value.

   Yet, acting in the utmost good faith, CSAA made the business decision to afford Plaintiff a full

   year’s worth of rental income. (UDF 22.)

          Further still, the policy clearly states that “[p]ayment will be for the shortest time required

   to repair or replace that part of the ‘Described Location’ rented or held for rental.” (Certified CSAA

   Policy, DP3-002795271, p. 11, EXHIBIT 1.) But, Plaintiff delayed the repairs and used a portion of

   the insurance benefits she received to pay living expenses. (UDFs 17-19). Therefore, the $13,200.00

   gratuitously paid to Plaintiff for Fair Rental Value more than compensated Plaintiff for the “shortest

   time required to repair or replace” the covered damage. The hold otherwise would be tantamount to

   rewarding Plaintiff for her decision to delay repairs and misuse the insurance benefits tendered to

   her.

   D.     Plaintiff cannot recover for the claimed mold damage in this lawsuit.

          Plaintiff has also asserted that CSAA breached its contract with her by refusing to pay

   $20,088.40 for “Mold Repairs.” (UDF 23). However, Plaintiff has testified that she does not

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   attribute the alleged mold damage to the purported vandalism. Rather, the mold was caused by a

   leak in the roof that her prior tenants failed to tell her about. (See Plaintiff’s Depo. Tr. 150:21-151:2,

   EXHIBIT 7.) Therefore, based upon Plaintiff’s own testimony, the claimed mold damage would be

   a separate loss subject to a separate claim and cannot serve as an element of damages in this lawsuit.

   E.      Plaintiff is not entitled to recover attorney’s fees as contractual damages.

           Finally, Plaintiff’s pre-suit demands suggests that she believes she is entitled to recover

   attorney’s fees as an element of her contractual damages. Prior to filing suit, Plaintiff made the

   decision to retain an attorney to assist her with the presentation of her claim. Plaintiff then demanded

   that CSAA pay her attorney’s fees because “every cent of the amounts intended for payment are

   needed for the property restoration.” (See Correspondence from Bufogle, dated June 12, 2015,

   EXHIBIT 4.) However, nothing prevented Plaintiff from presenting additional information to CSAA

   or requesting CSAA reconsider its position without the assistance of an attorney. And, because the

   policy does not provide for the payment of attorney fees incurred during the presentation of a

   property damage claim, (See generally Certified CSAA Policy, DP3-002795271, EXHIBIT 1), CSAA

   was under no obligation to honor Plaintiff’s demand for “reasonable attorney fees.” See Roads West

   Inc., 91 P.3d at 87.

           In short, the undisputed material facts and above-cited authority clearly establish that Plaintiff

   has been fully compensated, if not over compensated, for her claimed loss. The fact that Plaintiff

   spent the insured benefits on matters unrelated to the subject property does not entitle her to

   additional benefits. Therefore, summary judgment should be entered in CSAA’s favor with respect

   to Plaintiff’s breach of contract claim.




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          PROPOSITION II: PLAINTIFF’S BAD FAITH CLAIM FAILS AS A
                          MATTER OF LAW.

          Oklahoma adopted the tort of bad faith in first-party insurance cases in Christian v. American

   Home Assur. Co., 577 P.2d 899 (Okla. 1977). In adopting this new type of tort, the Oklahoma

   Supreme Court realized that an insurer must still be given the discretion to disagree with its insured

   without automatically suffering the adverse consequences of potential “bad-faith” liability. As the

   Court reasoned:

                  We do not hold that an insurer who resists and litigates a claim made
                  by its insured does so at its peril that if it loses the suit or suffers a
                  judgment against it for a larger amount than it had offered in
                  payment, it will be held to have breached its duty to act fairly and in
                  good faith and thus be liable in tort.

                  We recognize that there can be disagreements between insurer and
                  insured on a variety of matters such as insurable interest, extent of
                  coverage, cause of loss, amount of loss, or breach of policy
                  conditions. Resort to a judicial forum is not per se bad faith or
                  unfair dealing on the part of the insurer regardless of the
                  outcome of the suit. Rather, tort liability may be imposed only
                  where there is a clear showing that the insurer unreasonably, and
                  in bad faith, withholds payment of the claim of its insured.

   Id. at 904-05 (emphasis added).

          In order to prevail on her bad faith claim, Plaintiff must establish by the greater weight of the

   evidence:

                  1. CSAA was required under the insurance policy to pay Plaintiff’s
                  claim;

                  2. CSAA refusal to pay the claim in full was unreasonable under the
                  circumstances, because 1) it did not perform a proper investigation,
                  2) it did not evaluate the results of the investigation properly, 3) it had
                  no reasonable basis for the refusal, or 4) the amount it offered to
                  satisfy the claim was unreasonably low;

                  3. CSAA did not deal fairly and in good faith with Plaintiff; and




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                  4. The violation by CSAA of its duty of good faith and fair dealing
                  was the direct cause of the injury sustained by Plaintiff.

   OUJI – 22.2 Bad Faith - First Party Insurance - Failure to Pay Claim of Insured.

          Plaintiff’s Petition asserts conclusory allegations of bad faith against CSAA. However, “the

   mere allegation that an insurer breached its duty of good faith and fair dealing does not automatically

   entitle the issue to be submitted to a jury for determination. Randall v. Gov’t Emp. Ins. Co., CIV-09-

   166-M, 2010 WL 845937, at *2 (W.D. Okla. 2010) (citing Oulds v. Principal Mut. Life Ins. Co., 6

   F.3d 1431, 1436 (10th Cir. 1993)). “In order to establish a bad faith claim, an insured ‘must present

   evidence from which a reasonable jury could conclude that the insurer did not have a reasonable

   good faith belief for withholding payment of the insured’s claim.’” Id. at *2 (quoting Oulds, 6 F.3d

   at 1436). Therefore, if the District Court finds the insurer’s conduct was reasonable, the claim of bad

   faith should not be submitted to the jury. Garnett v. Government Employees Ins. Co., 186 P.3d 935,

   944 (Okla. 2008) (“Before the issue of an insurer’s alleged bad faith may be submitted to the jury,

   the trial court must first determine as a matter of law . . . whether the insurer’s conduct may be

   reasonably perceived as tortious.”); see also City Nat. Bank &Trust Co. v. Jackson Nat. Life Ins., 804

   P.2d 463 (Okla. Civ. App. 1990).

          Furthermore, a bad faith cause of action “will not lie where there is a legitimate dispute.”

   Manis v Hartford Fire Ins. Co., 681 P.2d 760, 762 (Okla. 1984). Oklahoma courts have repeatedly

   held that a difference in opinion between the insurer and the insured in the (1) evaluation of a claim;

   (2) cause of loss or (3) amount of the loss does not constitute bad faith. Id. at 761 (citing McCorkle

   v. Great Atlantic Ins. Co., 637 P.2d 583, 587 (Okla. 1981)); Christian, 577 P.2d at 904-05. “It is not

   a breach of the duty of good faith for an insurer to resort to a judicial forum to settle legitimate

   disputes as to the validity or amount of an insurance claim.” Garnett, 186 P.3d at 944.




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          The Oklahoma Supreme Court addressed the defense of a “legitimate dispute” in Garnett.

   In that case, Garnett was a passenger in Hargrove’s pickup truck. While stopped at a traffic light,

   Fain rear-ended Hargrove’s pickup truck. Subsequently, Garnett retained counsel and submitted a

   UIM claim to GEICO for medical expenses, lost wages, pain and suffering, and mental anguish. Id.

   The UIM examiner later evaluated the total claim to be worth $11,000 to $13,000. After subtracting

   the liability policy limit of $10,000, the UIM examiner determined the UIM claim had a value of

   $1,000 to $3000. GEICO offered $1,000 to settle Garnett’s UIM claim. Eventually, GEICO offered

   $3,000, the full amount it evaluated Garnett’s UIM claim to be worth, to settle the claim. Id. at 939.

          Garnett declared the $3,000 as the “undisputed amount” and demanded payment without

   settlement of the claim. GEICO refused this demand. Subsequently, Garnett filed a lawsuit alleging

   GEICO breached its contract with him and acted in bad faith by failing to provide a fair evaluation.

   GEICO moved for summary judgment on the bad faith claim, which was granted. Garnett appealed

   this decision.

          The Oklahoma Supreme Court affirmed the summary judgment in GEICO’s favor stating:

                    Here, the passenger established that he had sustained $7226.66 in
                    damages for medical expenses and lost wages. He also alleged that he
                    sustained damages for pain and suffering and mental anguish. The
                    insurer valued his UIM claim somewhere between $1,000 and $3,000.
                    The passenger argued that the claim should have been valued
                    somewhere between $13,000 and $15,000. Ultimately, the jury
                    awarded the passenger $5,000, a number greater than the insurer's
                    estimate, but closer to the insurer’s range than to the passenger’s.
                    Clearly, the UIM claim was legitimately disputed, as evidenced by the
                    jury’s award. Because a legitimate dispute existed between the
                    parties as to the value of the UIM claim, the trial court did not
                    err by granting summary judgment to the insurer . . .

   Id. 186 P.3d at 944 (emphasis added).

          In Duensing v. State Farm Fire & Casualty Company, 131 P.3d 127 (Okla Civ. App. 2006),

   the insureds brought an action against their homeowners’ insurer for breach of contract and bad faith.

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   The insureds asserted their insurer acted in bad faith by refusing to pay for cracks and settling as a

   result of plumbing leaks under the foundation of their home. Id. at 130. A jury found the insurer

   liable for both breach of a homeowners’ insurance policy containing exclusions and bad faith in

   handling the claim. Id. at 132.

           The Oklahoma Court of Appeals held the trial court erred in denying the insurer’s motion for

   a directed verdict on the bad faith claim. In reaching that decision, it noted the insurer’s denial of the

   claim was based on its interpretation of several exclusions in the policy. Although those exclusions

   were ultimately found to be inapplicable, the insurer’s reliance on the exclusions was not

   unreasonable and did not constitute bad faith as a matter of law. Id. at 138.

           Here, the undisputed facts demonstrate that CSAA, at all times, acted in the utmost good faith

   toward its insured. Plaintiff notified CSAA of the claimed loss on December 22, 2014. (UDF 4).

   CSAA immediately opened a file, assigned adjusters to Plaintiff’s file and began its investigation.

   Within the a week of receiving notice of Plaintiff’s claim, the field adjuster, Jimmy McCoy, made

   contact with Plaintiff and scheduled a site inspection to take place on January 5, 2015.4 (UDFs 5 &

   6). The site inspection was rescheduled, at Plaintiff’s request, on multiple occasions. (UDF 6).

   Finally, on January15, 2015, Mr. McCoy was allowed to inspect the property. (UDF 7).

           After reviewing the information obtained during McCoy’s inspection and the information

   obtained during the investigation of Plaintiff’s prior claim, CSAA concluded that the vacancy

   provision was applicable, unless Plaintiff could show otherwise. (UDF 8). Plaintiff was notified

   of CSAA’s coverage position both verbally and in writing. (UDF 9). Plaintiff was also informed



           4
            Mr. McCoy was assigned as the field adjuster, because he had assisted Plaintiff with her
   prior claims. Therefore, he was familiar with the property. Plaintiff was notified that Mr. McCoy was
   out on PTO but would contact him upon his return. (See Claim Note, December 22, 2014, at 10:44
   A.M., EXHIBIT 2.)

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   that if she believed any of the information CSAA relied upon was inaccurate or if she had additional

   information that CSAA should consider, she should notify CSAA. (UDF 10).

           Subsequently, Plaintiff submitted information that she believed demonstrated the property

   was in the “process of reconstruction at the time [of the loss] due to the previous loss, and that . . .

   premises was not vacant but [was] being reasonably occupied for repairs,” (Petition [Dkt. No. 2-2],

   ¶ 6), and requested CSAA reconsider its coverage position. Specifically, Plaintiff provided

   documentation demonstrating that she had paid the utility bills for the months preceding the claimed

   loss. (UDF 11). At Plaintiff’s request, CSAA reopened the file and ultimately paid Plaintiff

   $62,821.36 (less Plaintiff’s $500.00 deductible) in benefits under the insurance contract. (UDFs 15,

   19, 20, 22). And, as discussed above, it has become patently clear that Plaintiff was not entitled to

   many of the benefits tendered to her. Simply stated, the undisputed facts of this case demonstrate

   that no reasonable mind, even when the evidence is viewed in the light most favorable to Plaintiff,

   could conclude that CSAA acted in bad faith toward Plaintiff. See Duensing, 131 P.3d at 137-39.

   Thus, summary judgment should be entered in favor of CSAA on Plaintiff’s bad faith claim.

           PROPOSITION III: CSAA’S ALLEGED MISCONDUCT DOES NOT
                            WARRANT SUBMISSION OF PLAINTIFF’S
                            REQUEST FOR PUNITIVE DAMAGES TO THE JURY.

           If partial summary judgment is entered in favor of CSAA on Plaintiff’s bad faith claim,

   Plaintiff’s claim for punitive damages must also fail as a matter of law. Peters v. American Life Ins.

   Co., 77 P.3d 1090 (Okla. Civ. App. 2003)(entry of judgment in favor of insurer on bad faith claim

   also disposes of punitive damage claim).

           However, even in the event this Court permits Plaintiff to pursue a bad faith claim, Plaintiff’s

   request to submit a punitive damages claim to the jury should be denied. A plaintiff will not be

   routinely entitled to punitive damages even if bad faith has been found to exist. Specifically:


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                  In the case of Timmons v. Royal Globe Ins. Co., 1982 OK 97, 653
                  P.2d 907, this Court acknowledged the applicability of the standard
                  relating to punitive damages . . .

                         Exemplary damages are imposed by the law on the theory of
                         punishment to the offender, for the general benefit of society,
                         and are allowed only in cases where fraud, oppression, gross
                         negligence or malice, actual or presumed, enter into the cause
                         of action, but a person may commit such wilful acts in
                         reckless disregard of another’s rights that malice will be
                         inferred. Timmons involved a claim of bad faith dealing by an
                         insurance company. Our recognition of the standard stated in
                         Oden v. Russell as applicable in Timmons may only be read to
                         indicate that the question of proof necessary to sustain a claim
                         for punitive damages in a bad faith case involving an
                         insurance company is the same standard necessary to sustain
                         such a claim in any case where punitive damages are sought
                         under 23 O.S. 1981 § 9.

                  In the case of Slocum v. Phillips Petroleum Co., this Court stated:

                         To entitle a plaintiff to recover exemplary damages in an
                         action sounding in tort, the proof must show some elements
                         of fraud, malice or oppression. The act which constitutes the
                         cause of action must be actuated by or accompanied with
                         some evil intent, or must be the result of such gross
                         negligence-such disregard of another’s rights-as is deemed
                         equivalent to such intent. Dilworth v. Fortier, 405 P.2d 38
                         (Okl.1964) and Edwards v. Lachman, 534 P.2d 670
                         (Okl.1974). Exemplary damages are allowed only in cases
                         where fraud, oppression, gross negligence or malice, actual or
                         presumed, enter into the cause of action, but a person may
                         commit such willful acts in reckless disregard of another’s
                         rights that malice may be inferred. Oden v. Russell, 207 Okl.
                         570, 251 P.2d 184 (1952).

   McLaughlin v. National Benefit Life Ins. Co., 772 P.2d 383, 387 (Okla. 1988).

          Thus, Plaintiff must show CSAA acted with oppression, malice, fraud, gross negligence or

   wantonness. Id. “Even where there is evidence to support recovery of actual damages in a bad faith

   action against an insurer, submission of the issue of punitive damages to a jury may be improper.”

   Willis v. Midland Risk Insurance Co., 42 F.3d 607 (10th Cir. 1992). Punitive damages do not follow


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   from every breach of the duty of good faith, or in every case in which a jury may render a verdict for

   the wronged party. Id.

                  A plaintiff can succeed in establishing bad faith on the part of an
                  insurer that is sufficient to support an award of actual damages, but
                  insufficient to support submission of the issue of punitive damages.
                  The “bad faith” must be accompanied by some “aggravating
                  circumstance” to warrant submission of punitive damages to the jury
                  under McLaughlin, while clear and convincing evidence of the
                  requisite “evil intent” is required to submit the issue of punitive
                  damages that exceed the actual damages under 23 O.S. 1991 § 9.

   Cooper v. National Union Fire Ins. Co. of Pittsburgh, PA, 921 P.2d 1297 (Okla. Civ. App. 1996)

   (citation omitted).

          Even though bad faith is something more than unreasonable conduct, it is not necessarily

   conduct evincing a wanton or reckless disregard for the rights of another, oppression, fraud, or

   malice, such that punitive damages would be warranted. The bad faith must be accompanied by

   some aggravating circumstance to warrant submission of punitive damages to the jury. Even if

   reckless disregard can be plainly shown, this is not the same thing as it being demonstrated by clear

   and convincing evidence as required under the punitive damages statute. Id.; see also Hall v. Globe

   Life & Acc. Ins. Co., 968 P.2d 1263, 1266 (Okla. 1998) (a punitive damage award “is not automatic,

   but rather is governed by the standard applicable in other tort cases.”).

          Here, Plaintiff cannot present clear and convincing evidence of acts which were intentionally

   wrongful such as the deception and dishonesty necessary to assert a punitive damage claim. In the

   absence of a showing of “oppression, fraud or malice, actual or presumed,” 23 O.S. § 9(A), it would

   be improper to submit the issue of punitive damages to the jury.




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                                             CONCLUSION

          For the foregoing reasons, Defendant, CSAA Fire & Casualty Insurance Company,

   respectfully requests the Court enter summary judgment in its favor.

                                                        Respectfully Submitted,


                                                        s/ Erin J. Rooney
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                                                               erin@pclaw.org
                                                        ATTORNEYS FOR DEFENDANT, CSAA
                                                        FIRE & CASUALTY INSURANCE COMPANY


                                   CERTIFICATE OF SERVICE

          This is to certify that on the _____ day of April 2017, a true and correct copy of the above

   and foregoing instrument was forwarded to:

          Karen Sue Sperling                            VIA EMAIL AND VIA U. S. MAIL
          Post Office Box 414
          Sapulpa, Oklahoma 74067
          Email: suzzieque52@gmail.com
          PLAINTIFF, PRO SE


                                                        s/ Erin J. Rooney
                                                        For the Firm




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